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CRIMINAL PROCEEDINGS –
Arraignment/Plea Agreement Hearing
  UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO
Judge: Debora K. Grasham           Date: June 1, 2022
Courtroom Deputy/ESR: Amy Tate     Time: 1:40-2:29 PM
                                   Location: Boise, ID

             UNITED STATES OF AMERICA vs. NICHOLAS JONES
                       Case No.: 1:22-cr-00104-DCN-1

Counsel for United States: Joshua Hurwit, Nicole Lockhart & Rosaleen O’Gara (via Zoom)
Counsel for Defendant: Mike French, retained
Probation: Gavin Zickefoose

☒ Defendant has copy of charging document.
       ☒ Information
       ☒ Waived reading
       ☒ Notice given re GO#392.
☒ Rights advised.
Defendant placed under oath.
☒ Waiver of Indictment executed.
☒ Waiver of Right to District Judge executed.
Defendant found competent to enter a knowing and voluntary plea.
Defendant is satisfied with representation of counsel.
Government stated for the record the elements and evidence of the charge(s).
Defendant advised of the sentencing guidelines and maximum penalties.
Defendant’s Constitutional Rights explained.
Defendant agrees with the elements of the charge(s) as stated by the Government.
Plea Agreement discussed and Defendant understands the terms of the agreement.
Defendant entered a plea of guilty to Count(s) 1 & 2 of the Information.
Plea accepted by the Court.
Per request of defense counsel in this matter, and with no objection by the
Government, the Sentencing Hearing will be set in September. Clerk to obtain
date/time from Judge Nye’s Chambers and a Notice of Hearing will be forthcoming.
☒Report and Recommendation shall be entered.
Order Setting Conditions of Release entered.

Any motions for departure, sentencing memorandums or letters in support must be filed
seven (7) days prior to the sentencing hearing. Sentencing hearing is scheduled for 1 hour.
